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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                     :
                                             :
               v.                            :      No. 1:21-cr-00350-PLF
                                             :
ANTIONNE BRODNAX,                            :
                                             :
                              Defendant.     :

GOVERNMENT’S SECOND SUPPLEMENT TO GOVERNMENT’S CONSOLIDATED
 OPPOSITION TO DEFENDANT’S MOTIONS TO UNSEAL SEARCH WARRANT
            AFFIDAVIT AND TO QUASH SEARCH WARRANT

       The United States of America by and through its attorney, the Acting United States

Attorney for the District of Columbia, hereby submits this second supplement to its consolidated

opposition (doc. 17) to the defendant’s motions to unseal search warrant affidavit and to quash

search warrant.

       As mentioned in the government’s initial supplement, on June 4, 2021, Magistrate Judge

G.M. Harvey issued a Memorandum Opinion and Order, in 1:21-sc-1386-GMH and 1:21-sc-

1387-GMH, the two search warrant matters that are at issue in the defendant’s motions to unseal

and quash. The memorandum opinion and order granted the government’s motions, filed in

those cases, to compel Twitter and Facebook to comply with the respective search warrants and

the companies were required to comply within seven days. The memorandum opinion and order,

which was included as an exhibit to the government’s initial supplement, also required the

government to serve both companies with a copy of the memorandum opinion and order. The

government did so, on June 4, 2021. Both companies have now produced the data to the

government required by the respective warrants, and the government has served the defense with

both sets of production.
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       Accordingly, the government submits that the defendant’s motion to quash should be

dismissed as moot.

       In addition, now that the warrants have been executed, the government no longer opposes

the defense motion that the government disclose to the defense both search warrant affidavits.

                                             Respectfully submitted,

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